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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,                      )
                                                )
         v.                                     )       Case No. 21-93 (RC)
                                                )
 JOHN D. ANDRIES,                               )
                                                )
                         Defendant.             )
                                                )

        DEFENDANT’S REPLY TO GOVERNMENT’S RESPONSE TO MOTION TO
        DISMISS COUNTS ONE, TWO, AND THREE OF THE SUPERSEDING
        INDICTMENT

         The defendant, John Andries, files this reply to the government’s response filed on

 September 2, 2021. See ECF Dkt. No. 22. For the reasons discussed below, Counts 1-3 still fail

 to state an offense and fail to give proper notice to the defendant.

   I.         The Plain Language of §1515(a)(1)(B) as Interpreted by other Courts, as well as
              the Legislative History and Congressional Intent of §1512(c)(2), Support a
              Finding that the Statute Fails to State an Offense.

        The government argues in its response that the plain text defining “official proceeding,”

as a “proceeding before Congress” is sufficient to conclude that the Electoral Count on January 6

is included in this definition. The government supports this argument by choosing only one

definition of “proceeding” from the Oxford English Dictionary, which defines it as “the carrying

on of an action or series of actions; action, course of an action; conduct, behavior.” See Govt.

Response at 7. However, if the courts rested on just this definition, then any event would qualify

as an “official proceeding” because every event “carries on an action or series of actions.” Other

courts have not relied on this definition and have interpreted “official proceeding” to disqualify

many types of government activities even though the activities “carried on a series of an action

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or series of actions.” See, e.g., United States v. Sutherland, 921 F.3d 421, 426 (4th Cir. 2019)

(FBI investigation not an “official proceeding” because that term “implies something more

formal than a mere investigation”), cert. denied, 140 S. Ct. 1106; United States v. Dunn, 434 F.

Supp. 2d 1203, 1207 (M.D. Ala. 2006) ) (investigation conducted by Bureau of Alcohol,

Tobacco, and Firearms not an “official proceeding” because the term encompasses “events that

are best thought of as hearings (or something akin to hearings”).

       The government further argues that the narrower Black’s Law Dictionary definition of

“proceeding” would still include the Electoral Count on January 6. See Govt. Response at 8.

That narrower definition includes, “the business conducted by a court or other official body; a

hearing.” Black’s Law Dictionary, “proceeding” (11th ed. 2019).      This definition of

“proceeding” plainly describes the word to mean “a hearing.” The government provides little

support for the Joint Session on January 6 being a “hearing.” The only support the government

provides is that the Joint Session is a formal environment where a decision must be made. See

Govt. Response at 9. However, the cases the government cite interpret “official proceeding”

more narrowly by not only explaining that it must be a formal environment but that there also

must be characteristics of a hearing, such as findings of fact, and having the power to issue

subpoenas. See United States v. Kelley, 36 F.3d at 1127 (explaining the Inspector General was

empowered to, and did, issue subpoenas, and compel sworn testimony in conjunction with an

investigation). So, it is not just that a decision must be made in a formal environment, but rather

that the characteristics surrounding the event must be “akin to a hearing.” Id. This interpretation

is consistent with the congressional intent outlined in the defendant’s motion to dismiss.

       Although the Electoral Count is in a “formal environment,” it is not a “hearing” because

it does not have the characteristics associated with a typical hearing. Just because a decision


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must be made does not place the session “comfortably within the category of an “official

proceeding” as the government suggests. The government does not acknowledge the ceremonial

nature of the session but instead attempts to equate it with a hearing. The government points to 3

U.S.C. §15, which technically bestows Congress with the authority to lodge objections; however

these “objections” are not the same that exist in a typical proceeding for which the statute

intends. As explained in detail in the defendant’s motion to dismiss, the session is ceremonial

and the objections have no legal significance. The session is not intended to be adversarial and

that is because, by the time it takes place, the states have certified that there are no remaining

disputes and therefore any objection would be to the technical procedures carried out by the

individual states. Simply put, the “counting function” of Congress does not have a “judicial”

aspect to it and the “electoral vote is merely ministerial.”1

       The government additionally argues that the Court should not limit its interpretation of

“proceeding before the Congress” to encompass only proceedings that are “adversarial” or

“adjudicative” in nature. See Govt. Response at 10. However, that is exactly what past courts

have done, and as a result, they have ruled that these factors are key in determining whether

something is an official proceeding or not. See United States v. Perez, 575 F.3d 164, 169 (2d

Cir. 2009) (ruling the BOP investigation qualifies as an “official proceeding” because the

“review panel must determine if there has been a violation of BOP policy, must make findings,

and may decide to refer the matter to senior departmental authorities); United States v. Ramos,

537 F.3d 463 (5th Cir. 2008) (holding that “official proceeding” is consistently used in a manner

that contemplates a formal environment in which people are called to appear or produce



1
 Vasan Kesavan, “Is the Electoral Count Act Unconstitutional?” 80 North Carolina Law Review 1653,
2002, at page 258.

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documents”).

          The government cites United States v. Ring, 628 F. Supp. 2d 195 (D.D.C. 2009) to argue

that §1512(c)(2)’s application is not limited to the destruction of documents. See Govt.

Response at 12. However, that case involves a defendant who made false statements to a grand

jury and the court’s inquiry was whether the statements qualified as “obstruction.” Id. at 224.

That case did not decide whether the grand jury hearing constituted an “official proceeding” and

so has no bearing on the immediate case. Mr. Andries’s argument is that the Electoral Count on

January 6 is not like grand jury hearings, which are clearly “official proceedings.”

    II.      Even if the Court determines that the Electoral Count is an “Official
             Proceeding,” 18 U.S.C. §1512(C)(2) is Unconstitutionally Vague

          The government argues in its response by citing to United States v. Lanier, 520 U.S. 259,

267 (1997) that the “touchstone” of vagueness analysis “is whether the statute, either standing

alone or as construed, made it reasonably clear at the relevant time that the defendant’s conduct

was criminal.” This common sense and practical standard is exactly what the defendant submits

is missing here. On January 6, 2021, Mr. Andries could not possibly have been on notice that he

was “obstructing” an “official proceeding” for several reasons. Foremost is that Mr. Andries is

not accused of committing an act of obstruction. Rather, he is accused of being present at the

Capitol where others allegedly committed such acts. Mr. Andries, on the other hand, voiced

objections to the Electoral Count. 2 Mr. Andries’s presence and words were an expression of his


2
 The First Amendment provides that “Congress shall make no law…abridging the freedom of speech.”
U.S. Const. amend. I. The Constitution protects speech “without regard…to the truth, popularity, or
social utility of the ideas and believes offered.” National Ass’n for the Advancement of Colored People v.
Button, 371 U.S. 415, 445 (1963). This American principle is something that rings in the minds of the
public every time they express their thoughts, no matter how unpopular those opinions may be. The
obstruction statute is impermissibly vague for reasons already discussed, but also because it invites
arbitrary enforcement of a law that could abridge one of the most fundamental principles in our country.
Now it is true that the Supreme Court has excluded “fighting words” from this protection. See United
States v. Stevens, 559 U.S. 460, 468 (2010).

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First Amendment rights, and there was no criminal intent to do anything more than express his

thoughts about the unfairness of the vote. The government argues that his actions were clearly

obstruction because he refused to leave a bench long after the members of Congress had been

evacuated. See Govt. Response at 5. However, nothing in §1512 would indicate that this alleged

conduct would constitute a crime. At most, it was an expression of protest by declining to obey

orders of the Capitol Police. Mr. Andries did not threaten anyone, was not armed, and did not do

anything to actually obstruct, influence, or impede Congress. Any allegation that he “tried to

pull a fire alarm” as the government quotes was never founded and were just words. Id. The

circumstances of his case mirror those of many defendants on that day whose mere presence and

words did not place them on notice that they could be committing a felony involving criminal

intent to actually obstruct or impede an “official proceeding.”

       The Supreme Court made it clear that “fighting words” are a very narrow exception to the

First Amendment and must “have a direct tendency to cause acts of violence by the person to

whom, individually, the remark is addressed.” Chaplinsky v. New Hamphire, 315 U.S. 568, 753

(1942). Defendants like Andries were not inciting violence by their expressions of how they felt

about the election and by assembling together to express those opinions. Most importantly, they

were not addressing their remarks to an individual, but allegedly were rather chanting together as

assemblers. Therefore, their words were protected under the First Amendment. Given the

tradition of the First Amendment to protect the right of Americans to assemble and petition their

government, Mr. Andries’s presence and words were protected and he had no notice that he

could be committing a felony act of “obstruction.”

       The government may argue that the collective presence of individuals chanting together

was part of the “obstructive” behavior. However, the First Amendment prohibits placing



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liability on one for their association with another person. See N.A.A.C.P. v. Claiborne Hardware

Co., 458 U.S. 886, 887 (1982). Defendants who were merely in the presence of others who took

action to obstruct cannot be held responsible for their words, unless there is some kind of direct

incitement of those individuals to commit violence. That is not the case here. Mr. Andries, and

many other defendants, had no direct bearing on what others in various parts of the crowd on

January 6 were doing. The obstruction statute does not apply so broadly as to encompass

individuals who did not have the “mens rea” to commit a crime, or even notice that their

presence or words could be construed as criminal.

        Obstruction statutes have been deemed unconstitutional for infringing on protected

expression. City of Houston v. Hill, 482 U.S. 451 (1987). 3 In City of Houston, the Supreme

Court dealt with the question of whether a municipal ordinance prohibiting interrupting police

officers in the performance of their duties was overbroad and unconstitutional. Id. The Supreme

Court held that the enforceable part of the ordinance did not deal with criminal conduct, but

speech. Id. at 460. In its decision, the Court acknowledged that “speech is often provocative and

challenging…[But it] nevertheless protected against censorship or punishment, unless shown

likely to produce a clear and present danger of a serious substantive evil that rises far above

public inconvenience, annoyance, or unrest. Id. (citing Terminello v. Chicago, 337 U.S. 1, 4

(1949). For that reason, the Court invalidated the ordinance as vague and unconstitutional. Id.

Similarly, the opinions allegedly expressed by Mr. Andries was just speech, and no matter how

unpopular, cannot be considered “criminal conduct” punishable by the government.

        Separate from First Amendment concerns, the government cannot ignore the vagueness


3
  See also Lewis v. City of New Orleans, 415 U.S. 130 (1974) (invalidating ordinance prohibiting
individuals from cursing at police officers while in performance of their duties); Wilson v. Kittoe, 229 F.
Supp. 2d 520 (W.D. Va. 2002) (obstruction statute for disobeying police orders violated protected
expression).

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of the language of 18 U.S.C. §1512(c)(2). The government cites to a series of cases to argue that

“corruptly” is not vague. See Govt. Response at 17-19. The government claims the defendant’s

reliance on Poindexter is misplaced, however it is the government that misunderstands the crux

of Poindexter. United States v. Poindexter, 951 F.2d 369, 379 (D.C. Cir. 1991) The Court ruled

specifically that the adverb “corruptly” should be read “transitively” and requires that the

defendant “corrupt” another into violating their legal duty. The reason that Poindexter reached a

different outcome than United States v. Morrison, 98 F. 3d 619 (D.C. Cir. 1996) was because, in

Morrison, the word “corruptly” was applied exactly as described in the statute, i.e., by

persuading another to violate their legal duty. Id. at 630. So, Morrison and Poindexter are not at

odds as the government suggests. Rather, the cases go hand and hand to rule that the word

“corruptly” is only clear when it is applied in circumstances where one individual corrupts

another to violate their legal duty. Such circumstances are absent in this case as Mr. Andries did

not influence others to violate the law.

       The government further questions Poindexter by citing to Arthur Andersen v. United

States, 544 U.S. 696 (2005). Arthur Anderson involved a jury instruction that failed to “convey

the requisite consciousness of wrongdoing.” Id. at 698. This holding was not inconsistent with

Poindexter, which involved an entirely different dispute. The court in Arthur Anderson was

simply referring to the modifier, “knowingly,” in §1512(b), which does not exist in §1512(c). Id.

The Court’s decision in that case had no bearing on why the word “corruptly” was deemed vague

in Poindexter. The government repeats the same misunderstanding when it cites to the 7th, 2nd,

and 11th circuits. See Govt. Response at 18. Poindexter remains good law and identifies one of

the many problems that the word “corruptly” present in the obstruction statute. It is vague

because it does not provide a discernable standard for what conduct is prohibited, thereby



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allowing for arbitrary or discriminatory enforcement as in this case. The government therefore

should not be permitted to proceed with this charge against Mr. Andries.

          Lastly, the government glosses over why the “residual clause” of §1512 somehow passes

the vagueness challenge. See Govt. Response at 19-20. The government explains that because

the Electoral Count qualifies as an “official proceeding,” then that phrase is not vague, but it

does not explain why the “catch all” phrase “otherwise obstructs” is not vague or otherwise

provides sufficient notice of conduct that is prohibited. Catch-all provisions have been

scrutinized carefully by the Supreme Court and have been deemed unconstitutionally vague

because of the open-ended and imprecise language of the type in §1512(c). See e.g., United

States v. Johnson, 576 U.S. 591 (2015); Sessions v. Dimaya, 138 S. Ct, 1204 (2018). So too here

should this Court deem §1512(c) catchall void for vagueness.

   III.      18 U.S.C. §1752 is Not “Unambiguous” and the Legislative History Suggests the
             United States Secret Service is the Only Entity Designated to Restrict Areas
             Under the Statute.

          The government argues that the plain reading of the text of 18 U.S.C. §1752 does not

specify who must do the restricting and so there is no need to consider the legislative history.

See Gov. Res. at pgs. 21-24. However, the language of §1752 is not clear as it reads: “restricted

building or grounds” means any posted, cordoned off, or otherwise restricted area” and thereby

implies that “someone” must decide what area can be restricted. If the language was

unambiguous, it would mean that any entity could restrict the Capitol grounds. That cannot

possibly be what Congress intended as it would create no guidance to law enforcement. Given

this ambiguity, we must look to the legislative history to determine what Congress intended. See

U.S. v. Villanueva-Sotelo, 515 F.3d 1234, 1237 (D.C. Cir. 2008) (citing Staples v. United States,

511 U.S. 600, 605 (1994).


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       The government is incorrect that the legislative history supports broad authority for any

entity to restrict Congressional grounds. See Gov. Response at 24-25. The government offers

United States v. Bursey, 416 F.3d 301 (4th Cir. 2015) in support of this assertion but that case

does not involve who restricts the areas but rather in what manner the area is deemed restricted.

In that case, the court held that the presence of law enforcement was sufficient to restrict the area

and that §1752 did not require a physical demarcation. Id. at 308. The Bursey decision simply

does not answer who has the authority to restrict the area.

       The Senate Judicial Committee report unambiguously vests the Secret Service with the

power to set federal restricted areas. S. Rep. No. 91-1252 (1970) at 7. If Congress did not intend

to vest that authority with the Secret Service, it would not have named that agency specifically.

Moreover, Congress did not remove that authority when it amended §1752 to its current version.

The government seems to think that because the current version of the statute does not

specifically reference the Secret Service, that Congress purposefully removed it. This

assumption is unfounded and would create more uncertainty rather than less given no agency

would have the authority to restrict Congressional grounds. This court should not interpret

§1752 to provide authority for any entity to restrict the grounds other than the entity that is

charged with protecting the President or Vice President and has historically retained such

authority.



                                       CONCLUSION

       For all of the reasons discussed above, the defendant John Andries, respectfully requests

that the Court dismiss counts 1-3 of the Superseding Indictment because they fail to state an

offense and are unconstitutionally vague.


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                            Respectfully submitted,

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                                    /s/

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